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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
_____________________________________

UNITED STATES OF AMERICA
                  Plaintiff,                   Case No. 1:20-cr-00183-RJJ

                                               Hon. Robert J. Jonker

v.



ADAM DEAN FOX,
BARRY CROFT,
DANIEL HARRIS,
BRANDON CASERTA, and
KALEB FRANKS
                        Defendants.
________________________________________________________________________/

         UNOPPOSED JOINT MOTION FOR SUBPOENA DUCES TECUM
                       DIRECTED TO TWITTER


         Adam Fox, Barry Croft, Daniel Harris, Brandon Caserta, and Kaleb Franks,

by their counsel, move this Court to authorize a subpoena duces tecum returnable to

the Court in advance of trial for the reasons more fully outlined in the attached

brief.


         Defendants are seeking records relating to a Twitter account which has been

connected to Special Agent Chambers and which are more specifically outlined

below.




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                             STATEMENT OF FACTS
        On August 26, 2021, BuzzFeed News published an article linking Special

Agent Jayson Chambers to a private intelligence outfit called Exeintel, LLC. Ken

Bensinger, A Right-Wing Troll Appears To Have Tweeted About An FBI

Investigation Into The Michigan Kidnapping Plot Before It Went Public, BuzzFeed

News, August 26, 2021. BuzzFeed explained that Special Agent Jayson Chambers is

an owner of of a New Mexico Limited Liability Company called Exeintel, LLC.

        BuzzFeed further reported that a Twitter account @ravagiing described itself

as the “CEO” of Exeintel LLC. Open-source databases indicate that the address

which Mr. Chambers registered with the New Mexico Secretary of State is a UPS

Store in Clarkston, Michigan which appears to be the most geographically

convenient UPS store location to the agent at the time when the document was filed

with the New Mexico Secretary of State1.

        BuzzFeed reported that the @ravagiing account tweeted hints about the

investigation into the defendants in this case. In December 2019, before the

investigation ostensibly started, @ravagiing tweeted:




1https://www.documentcloud.org/documents/21049166-exeintel-articles-of-
organization


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      Approximately two weeks after the alleged surveillance of the Governor’s

lake home, the account tweeted:




      On October 7, the day of the arrests of the defendants, the account tweeted:




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      The day after the highly publicized arrest of the defendants in this case, the

account tweeted:




      All signs point to Chambers being the owner of Exeintel and the @ravagiing

Twitter account. These issues were flagged for the government and the Court in a

joint defense filing on August 27, 2021. Joint Supplement, ECF No. 315,

PageID.1864-1873. The joint supplement raises the question about whether Mr.

Chambers was using his role in the investigation to benefit his company financially.

Id. at PageID.1870. Counsel for the defendants sent a joint Brady demand to the

government on August 27th relating to these developments which has not yet been

answered.

      On the evening of August 29, 2021, counsel became aware that the

@ravagiing account changed its description from being the CEO of Exeintel to being

the “co-founder” of “IntelRedTeam”:




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      At the same time as the elimination of the Exeintel reference from the

Twitter header, it appears that the account has deleted the tweets relating to the

Michigan investigation.

      Based on a review of open-source databases, it also appears that between

August 22 and August 24, 2021, the person in control of the Exeintel.com domain

name made changes to the Domain Name Service records. Prior to this change, the

DNS service was provided by a common US-based provider, CloudFlare. After the

change, the DNS records point to a Swiss-based provider. Counsel knows from

experience that Swiss privacy laws are more difficult to overcome than United

States laws and that people attempting to avoid detection will often engage Swiss-



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based internet hosting providers. This switch to a Swiss-based host appears to be

yet another attempt to cover the tracks of the person in control of Exeintel.

      Defendants are seeking a subpoena duces tecum directed to Twitter ordering

that it produce the account ownership and registration information, contact

information for the owner of the account including contact information, IP address

history relating to account creation and logins, and direct messaging history for the

account @ravagiing.

                              LAW AND ARGUMENT
      Fed. R. Crim. P. 17(c) permits the Court, in its discretion, to issue document

subpoenas before trial. The rule further permits the Court to allow the parties to

inspect the documents upon their production to the Court before trial. See Fed. R.

Crim. P. 17(c)(1).

      In leaving the district courts with great discretion, the Sixth Circuit has

noted that “Rule 17(c) is capacious enough to accommodate differing levels of

oversight that district courts deem desirable to impose. It commits the task of

supervising subpoenas to the sound discretion of those courts, which can determine

the appropriate mechanisms for exercising oversight as they see fit—by standing

order, local rule, or no rule at all.” United States v. Llanez-Garcia, 735 F.3d 483, 500

(6th Cir. 2013).

      In United States v. Nixon, 418 U.S. 683, 94 S.Ct. 3090, 41 L.Ed.2d 1039

(1974), the Court explained that four factors must be assessed when issuing a Rule

17(c) subpoena: (1) the documents are evidentiary and relevant; (2) they are not

otherwise procurable, with due diligence, in advance of trial; (3) the party cannot


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properly prepare for trial without such production and inspection in advance of

trial; and (4) the application was made in good faith and is not a fishing

expedition. Id. at 699, 94 S.Ct. at 3103. Accordingly, a defendant seeking a

subpoena under the rule “must clear three hurdles: (1) relevancy; (2) admissibility;

(3) specificity.” Id. at 700.

       This request satisfies each of the Nixon factors. First, documents showing

that a government agent is in control of a Twitter account which was tweeting

confidential details about the investigation would show that the agent was violating

FBI rules and show that the agent had a financial interest in the outcome of the

investigation. Both of these facts are relevant at trial. These facts appear to have

been fairly clearly established by the public reporting referenced above, however,

the requested documents from Twitter are necessary to prove up those facts in

accordance with the Rules of Evidence.


       Second, the records are not otherwise procurable because the government has

refused to produce them. Counsel sent a request to the government on August 27,

2021 requesting production pursuant to Brady and Giglio which has gone

unanswered. Additionally, the account ownership records and login information

sought, unlike public Tweets, are not publicly available and thus require process

from the Court to obtain.


       Third, counsel cannot prepare for trial without the documents because while

SA Chambers’ ownership interest in Exeintel, LLC and control appears to be clear

from the public reporting, the activity he engaged in is somewhat murkier and it is



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not possible to prove up his manipulation of the Twitter account without

authenticated login and registration information. Additionally, if counsel waits and

issues a trial subpoena, it is likely that counsel will learn that additional witnesses

are necessary to prove up SA Chambers’ ownership or control of the IP addresses

used to access the account which would result in the need to seek a mid-trial

continuance for the production of additional witnesses.


      Lastly, based on the facts proffered above, this is clearly more than a fishing

expedition and is made in good faith. The BuzzFeed reporting fairly establishes that

Mr. Chambers is an owner of Exeintel, LLC and that the @ravagiing Twitter

account which claimed to be run by the “CEO” of Exeintel had confidential

information relating to the investigation and prosecution of the defendants in this

case. Counsel submits that this is sufficiently specific to warrant a subpoena to

Twitter to produce the account information for the @ravagiing account.


      WHEREFORE, pursuant to Fed. R. Crim. P. 17(c), the defendants

respectfully request the Court issue a subpoena returnable to the Court in the form

attached as Exhibit A and direct that the United States Marshal serve the

subpoena on Twitter, Inc.


                                               Respectfully submitted,


      Dated: August 30, 2021                   /s/ Joshua A. Blanchard
                                               Joshua A. Blanchard
                                               BLANCHARD LAW
                                               Attorney for Defendant Croft
                                               309 S. Lafayette St., Ste. 208


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    Dated: August 30, 2021              /s/ Christopher Gibbons
                                        Christopher Gibbons
                                        Attorney for Defendant Fox


    Dated: August 30, 2021              /s/ Julia Kelly
                                        Julia Kelly
                                        Attorney for Defendant Harris

    Dated: August 30, 2021              /s/ Michael Hills
                                        Michael Hills
                                        Attorney for Defendant Caserta

    Dated: August 30, 2021              /s/ Scott Graham
                                        Scott Graham
                                        Attorney for Defendant Franks




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